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                                  1                               UNITED STATES DISTRICT COURT
                                  2                              CENTRAL DISTRICT OF CALIFORNIA

                                  3
                                  4
                                  5       James Shayler,
                                                                                     2:21-cv-00166-VAP-AGRx
                                  6                       Plaintiff,
                                  7                       v.
                                                                                        Order GRANTING Motion for
                                                                                            Default Judgment
                                  8       10616 Pico, LLC et al.,                               (Dkt. 16)
                                  9                       Defendant.
                                 10
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                                 11
                                 12       Before the Court is Plaintiff James Shayler’s (“Plaintiff”) Application for
                                 13   Default Judgment. (“Motion,” Dkt. 16). Having considered the papers filed
                                 14   in support of the Motion, the Court finds this matter appropriate for
                                 15   resolution without oral argument pursuant to Local Rule 7-15. The Court
                                 16   GRANTS the Motion.
                                 17
                                 18                                 I.   BACKGROUND
                                 19       Plaintiff has undergone multiple knee replacement surgeries and has a
                                 20   pinched sciatic nerve that causes his leg to give out sporadically. (Dkt. 1, ¶
                                 21   1). He suffers from spinal arthritis and experiences severe back pain on a
                                 22   regular basis. (Id.) Plaintiff has difficulty walking and standing and relies on
                                 23   a cane and walker for mobility. (Id.) He also suffered an injury that required
                                 24   surgery on his left arm, resulting in limited use of his left arm. (Id.)
                                 25   Defendant 10616 Pico, LLC owns the real property located at or about
                                 26   10616 W Pico Boulevard, Los Angeles, California. (Id. ¶ 2). There is a

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                                  1   business establishment on the property known as “Domino’s Pizza”
                                  2   (“Restaurant”). (Id. ¶ 3).
                                  3
                                  4       In November 2020 and December 2020, Plaintiff claims that he went to
                                  5   the Restaurant, a place of public accommodation, located at Defendant’s
                                  6   property. (Id. ¶¶ 10, 12). Plaintiff makes several allegations regarding the
                                  7   inaccessibility of the Restaurant’s parking facilities, including that the
                                  8   property “does not have any designated accessible parking spaces, access
                                  9   aisles, and accessible paths of travel” leading into the business, and that the
                                 10   property lacks directional signage showing an accessible path of travel. (Id.
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                                 11   ¶ 20). Plaintiff alleges, in sum, that “[d]defendant has failed to maintain in
                                 12   working and useable conditions those features necessary to provide ready
                                 13   access to persons with disabilities.” (Id. ¶ 25).
                                 14
                                 15       On January 8, 2021, Plaintiff filed a Complaint against Defendant for
                                 16   damages and injunctive relief for violations of the Americans with Disabilities
                                 17   Act (“ADA”) and California’s Unruh Civil Rights Act. (Dkt. 1). Plaintiff served
                                 18   Defendant with the Summons and Complaint on February 6, 2021. (Dkt. 9).
                                 19   Defendant’s Answer to the Complaint was due to be filed by March 1, 2021.
                                 20   Fed. R. Civ. P. 12. Defendant failed to respond to the Complaint. On March
                                 21   10, 2021, Plaintiff moved for, and on March 12, 2021, the Clerk of Court
                                 22   entered, default against Defendant. Although the Court has not located a
                                 23   proof of service for Plaintiff’s request and the Clerk’s entry of default,
                                 24   Defendant was on notice of Plaintiff’s Motion for Default Judgment given
                                 25   Defendant’s Response to Plaintiff’s Motion for Default Judgment. (Dkt. 17).
                                 26   On April 20, 2021, this Court declined to exercise supplemental jurisdiction

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                                  1   over Plaintiff’s Unruh Act claim and dismissed the claim without prejudice.
                                  2   (Dkt. 19).
                                  3
                                  4                              II.    LEGAL STANDARD
                                  5       Local Rule 55-1 provides that an application for default judgment must
                                  6   be accompanied by a declaration in compliance with Federal Rule of Civil
                                  7   Procedure 55(b) setting forth, inter alia, when and against what party the
                                  8   default was entered and the identification of the pleading to which default
                                  9   was entered. Plaintiff has provided this. (See Declaration of James
                                 10   Shayler, “Shayler Dec.,” Dkt. 16-2).
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                                 11
                                 12       Federal Rule of Civil Procedure 55 authorizes the Court to enter a
                                 13   default judgment against a party who “fail[s] to plead or otherwise defend” a
                                 14   claim. Fed. R. Civ. P. 55 (a)-(b)(2). “Even if entry of default has been made
                                 15   by the court clerk, granting a default judgment is not automatic; rather it is
                                 16   left to the sound discretion of the court.” PepsiCo v. Triunfo-Mex, Inc., 189
                                 17   F.R.D. 431, 432 (C.D. Cal. 1999) (citing Aldabe v. Aldabe, 616 F.2d 1089,
                                 18   1092 (9th Cir. 1980)).
                                 19
                                 20       In exercising its discretion to grant or deny an application for default
                                 21   judgment, the Court considers the following factors: (1) the possibility of
                                 22   prejudice to the plaintiff; (2) the merits of plaintiff’s substantive claim; (3) the
                                 23   sufficiency of the complaint; (4) the sum of money at stake in the action; (5)
                                 24   the possibility of a dispute concerning material facts; (6) whether the default
                                 25   was due to excusable neglect; and (7) the strong policy underlying the
                                 26   Federal Rules of Civil Procedure favoring decisions on the merits

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                                  1   (collectively, “Eitel factors”). Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th
                                  2   Cir. 1986). The merits of the plaintiff’s substantive claim and the sufficiency
                                  3   of the complaint are often treated by courts as the most important Eitel
                                  4   factors. Mnatsakanyan v. Goldsmith & Hull APC, No. 2:12-cv-04358-MMM-
                                  5   PLAx, 2013 WL 10155707, at *10 (C.D. Cal. May 14, 2013).
                                  6
                                  7                                  III.   DISCUSSION
                                  8       Generally, upon default, the factual allegations of the complaint, except
                                  9   those relating to the amount of damages, will be taken as true. Televideo
                                 10   Sys. Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987); see also
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                                 11   DirecTV, Inc. v. Hoa Huynh, 503 F.3d 847, 854 (9th Cir. 2007); Fed. R. Civ.
                                 12   P. 8(b)(6). Pursuant to Rule 8(b)(6), the Court accepts as true the
                                 13   allegations in the unanswered Complaint and the statements in the
                                 14   declarations submitted in support of Plaintiff’s Application for Default
                                 15   Judgment.
                                 16
                                 17       In applying the Eitel factors, the Court finds that Plaintiff is entitled to
                                 18   default judgment. The Court will discuss each factor in turn.
                                 19
                                        A. Possibility of Prejudice to Plaintiff
                                 20
                                          The first Eitel factor considers “whether the plaintiff will suffer prejudice
                                 21
                                      if default judgment is not entered.” PepsiCo, Inc. v. California Sec. Cans,
                                 22
                                      238 F. Supp. 2d 1172, 1177 (C.D. Cal. 2002). Here, Plaintiff contends that
                                 23
                                      “[i]f default judgment is not entered, Plaintiff will have no recourse for the
                                 24
                                      discrimination he suffers and will be prejudiced.” (Dkt. 16-1, at 25). But on
                                 25
                                      February 2, 2021, Defendant’s counsel sent by e-mail to Plaintiff’s counsel a
                                 26

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                                  1   Rule 68 Offer of Judgment (“Offer”) that included all the injunctive relief
                                  2   sought by Plaintiff in his Complaint as well as state law damages, in the total
                                  3   sum of $8,103. The Offer was not accepted by Plaintiff and consequently
                                  4   considered withdrawn. Thus, the Court disagrees that absent entry of
                                  5   default judgment, Plaintiff will be without recourse against Defendant, given
                                  6   Defendant's willingness to cooperate and the fact that Plaintiff may have an
                                  7   alternate remedy. Accordingly, this factor tends to weigh against entry of
                                  8   default judgment. See King v. Natl. Credit Works, Inc., 1:10-CV-02413-AWI,
                                  9   2011 WL 3847018, at *2 (E.D. Cal. 2011) (concluding that this factor
                                 10   disfavored default judgment where “there [was] no risk that Plaintiff [would]
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                                 11   be without a remedy if default judgment [was] not granted”).
                                 12
                                 13     B. The Merits of Plaintiff’s Substantive Claims and Sufficiency of
                                 14         the Complaint
                                 15       The second and third Eitel factors “require that a plaintiff state a claim on
                                 16   which [the plaintiff] may recover.” PepsiCo, 238 F. Supp. 2d at 1175. Here,
                                 17   Plaintiff brought two claims against Defendant: (1) violation of the ADA, 42
                                 18   U.S.C. § 12181, et seq.; and (2) violation of the Unruh Civil Rights Act,
                                 19   California Civil Code § 51 et seq. (Dkt. 1). As the Court declined to
                                 20   exercise supplemental jurisdiction and therefore dismissed Plaintiff’s Unruh
                                 21   Act claim (Dkt. 19), the Court will address only the merits of the ADA claim.
                                 22
                                 23       1. ADA Claim
                                 24       Title III of the ADA prohibits discrimination in public accommodations,
                                 25   and states that “[n]o individual shall be discriminated against on the basis of
                                 26   disability in the full and equal enjoyment of the goods, services, facilities,

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                                  1   privileges, advantages, or accommodations of any place of public
                                  2   accommodation by any person who owns, leases (or leases to), or operates
                                  3   a place of public accommodation.” Kohler v. Bed Bath & Beyond of
                                  4   California, LLC, 780 F.3d 1260, 1263 (9th Cir. 2015) (citation omitted). “To
                                  5   prevail on a Title III discrimination claim, the plaintiff must show that (1) [the
                                  6   plaintiff] is disabled within the meaning of the ADA; (2) the defendant is a
                                  7   private entity that owns, leases, or operates a place of public
                                  8   accommodation; and (3) the plaintiff was denied public accommodations by
                                  9   the defendant because of his disability.” Molski v. M.J. Cable, Inc., 481 F.3d
                                 10   724, 730 (9th Cir. 2007) (internal alteration original).
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                                 11
                                 12       Plaintiff has pled his ADA claims successfully here. First, Plaintiff has
                                 13   sufficiently pled that he meets the qualification under the ADA as a person
                                 14   with a disability. Plaintiff alleges that he suffers from physical disabilities
                                 15   and relies on a cane and walker for mobility. (Dkt. 1, ¶ 1). Disability under
                                 16   the ADA is defined as “[a] physical or mental impairment that substantially
                                 17   limits one or more major life activities.” 42 U.S.C. § 12102(1). “Major life
                                 18   activities” include walking and standing. 42 U.S.C. § 12102(2). Accepting
                                 19   the allegations in the Complaint as true, this element is satisfied.
                                 20
                                 21       Second, “a restaurant, bar, or other establishment serving food or drink”
                                 22   is a place of public accommodation. 42 U.S.C. § 12181(7)(B). Plaintiff
                                 23   alleges that Defendant owns the property located at or about 10616 W Pico
                                 24   Boulevard, Los Angeles, California. (Dkt. 1, ¶¶ 2-3). Plaintiff conducted a
                                 25   public records search and established Defendant’s ownership. (Dkt. 16-4,
                                 26

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                                  1   ¶¶ 3-4; Dkt. 16-6). Accepting the allegations in the Complaint as true, this
                                  2   element is also satisfied.
                                  3
                                  4       Third, a plaintiff can demonstrate that he was denied public
                                  5   accommodations by the defendant because of his disability “if the defendant
                                  6   failed to remove architectural barriers where such removal was readily
                                  7   achievable.” Lozano v. C.A. Martinez Family Ltd. P’ship, 129 F. Supp. 3d
                                  8   967, 972 (S.D. Cal. 2015); see 42 U.S.C. § 12182(b)(2)(A)(iv).
                                  9
                                 10       Here, Plaintiff alleges that Defendant currently fails to remove “access
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                                 11   barriers related to parking, signage, paths of travel, and entrance” in
                                 12   violation of ADA standards. (Dkt. 1, ¶ 19). The ADA’s “requirements are as
                                 13   precise as they are thorough, and the difference between compliance and
                                 14   noncompliance with the standard of full and equal enjoyment established by
                                 15   the ADA is often a matter of inches.” Chapman v. Pier 1 Imports (U.S.) Inc.,
                                 16   631 F.3d 939, 945-46 (9th Cir. 2011). Plaintiff specifically alleges that the
                                 17   Restaurant fails to provide “any designated accessible parking spaces,
                                 18   access aisles, and accessible paths of travel” leading into the Restaurant.
                                 19   (Id. ¶ 20). Plaintiff also alleges that Defendant could “easily remove the
                                 20   architectural barriers at its facility without much difficulty or expense.” (Id. ¶
                                 21   37). Accepting the allegations in the Complaint as true, this element is
                                 22   satisfied because the Restaurant’s parking facilities, entrance, and paths of
                                 23   travel are not accessible to persons such as Plaintiff, posing a barrier to
                                 24   entry where removal was readily achievable.
                                 25
                                 26

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                                  1      Therefore, Plaintiff has successfully stated a claim upon which he may
                                  2   recover under the ADA.
                                  3
                                  4    C. The Sum of Money at Stake
                                  5      The fourth Eitel factor “takes into account the amount of money at stake
                                  6   and the seriousness of the defendant’s conduct, which involves an
                                  7   assessment of whether the recovery sought is proportional to the harm
                                  8   which the defendant's conduct has caused.” Trustees of Teamsters Local
                                  9   631 Sec. Fund for S. Nevada v. Knox Installation-Dismantling & Servs., Inc.,
                                 10   No. 2:12-cv-1689-JAD-GWF, 2013 WL 4857897, at *2 (D. Nev. Sept. 9,
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                                 11   2013).
                                 12
                                 13      Plaintiff requests statutory damages in the amount of $4,000.00 against
                                 14   Defendant for each (now dismissed) claim under the Unruh Act. “Under the
                                 15   ADA, ‘damages are not recoverable ... only injunctive relief is available.’”
                                 16   Wander v. Kaus, 304 F.3d 856, 858 (9th Cir. 2002) (citing 42 U.S.C. §
                                 17   12188(a)(1)). Here, Plaintiff requests injunctive relief compelling
                                 18   Defendant’s compliance with the ADA. Plaintiff also intends to file a
                                 19   separate motion for his attorneys’ fees and costs after judgment has been
                                 20   entered. (Dkt. 16-1 at 26). The reasonableness of the sum of money at
                                 21   stake will thus be determined once Plaintiff has filed said motion. Plaintiff’s
                                 22   motion for attorneys’ fees and costs shall be filed by no later than the time
                                 23   period prescribed in Local Rule 54-7. See C.D. Cal. L.R. 54-7. Plaintiff’s
                                 24   request must also adhere to the requirements set forth in Federal Rule of
                                 25   Civil Procedure 68, which states that “[i]f the judgment that the offeree finally
                                 26

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                                  1   obtains is not more favorable than the unaccepted offer, the offeree must
                                  2   pay the costs incurred after the offer was made.” Fed. R. Civ. P. 68.
                                  3
                                  4     D. Possibility of a Dispute Concerning Material Facts
                                  5       “The fifth Eitel factor considers the possibility of dispute as to any
                                  6   material facts in the case.” PepsiCo, 238 F.Supp.2d at 1177. Upon entry of
                                  7   default by the clerk, the factual allegations of the complaint, except those
                                  8   relating to the amount of damages, are taken as true. Televideo Sys. Inc.,
                                  9   826 F.2d at 917-18. Here, Plaintiff has adequately alleged violations of the
                                 10   ADA in his Complaint. There is therefore little possibility of a dispute
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                                 11   concerning material facts. Elektra Entm’t Grp. Inc. v. Crawford, 226 F.R.D.
                                 12   388, 393 (C.D. Cal. 2005) (“Because all allegations in a well-pleaded
                                 13   complaint are taken as true after the court clerk enters default judgment,
                                 14   there is no likelihood that any genuine issue of material fact exists.”).
                                 15
                                        E. Possibility of Excusable Neglect
                                 16
                                          “The sixth Eitel factor considers the possibility that the default resulted
                                 17
                                      from excusable neglect.” PepsiCo, 238 F.Supp.2d at 1177. Where the
                                 18
                                      defaulting party is “properly served with the Complaint, the notice of entry of
                                 19
                                      default, as well as the papers in support of the [default] motion,” the failure
                                 20
                                      to defend cannot be attributed to excusable neglect. Shanghai Automation
                                 21
                                      Instrument Co. v. Kuei, 194 F. Supp. 2d 995, 1005 (N.D. Cal. 2001). Here,
                                 22
                                      Defendant was served with the Complaint (Dkt. 9) and was on notice of
                                 23
                                      Plaintiff’s requests for entry of default given Defendant’s Response to
                                 24
                                      Plaintiff’s Motion for Default Judgment. (Dkt. 17). Thus, there appears little
                                 25
                                      likelihood that the default resulted from excusable neglect.
                                 26

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                                  1     F.   The Strong Public Policy Favoring Decisions on the Merits
                                  2       Though “[c]ases should be decided upon their merits whenever
                                  3   reasonably possible,” a defendant’s failure to respond “makes a decision on
                                  4   the merits impractical if not impossible.” Eitel, 782 F.2d at 1472. As the
                                  5   Federal Rules of Civil Procedure allow for termination of a case before a
                                  6   hearing on the merits where a defendant fails to defend an action, this factor
                                  7   also favors entry of default judgment against Defendant.
                                  8
                                  9       Although the first and fourth Eitel factors do not support default
                                 10   judgment at this time, on balance, the remaining factors favor entry of
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                                 11   default. Therefore, the Court enters default judgment against Defendant.
                                 12
                                        G. Plaintiff’s Requested Relief
                                 13
                                          Having granted Plaintiff’s Motion for Default Judgment as to the ADA
                                 14
                                      claims, the Court next considered Plaintiff’s requested relief. Federal Rule
                                 15
                                      of Civil Procedure 55(b)(2) “explicitly grants the district court wide latitude” in
                                 16
                                      providing relief in a default judgment. James v. Frame, 6 F.3d 307, 310 (5th
                                 17
                                      Cir. 1993); Elektra Entm’t, 226 F.R.D. at 394.
                                 18
                                 19
                                          1. Damages
                                 20
                                          As the Court has dismissed Plaintiff’s Unruh Act claims and damages
                                 21
                                      are not available under the ADA, the Court does not address Plaintiff’s
                                 22
                                      claims for statutory damages.
                                 23
                                 24
                                          2. Injunctive Relief
                                 25
                                          Plaintiff also requests injunctive relief compelling Defendant’s
                                 26
                                      compliance with the ADA. In his Application for Default Judgment, Plaintiff

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                                  1   states that he is seeking a judgment directing Defendant to “provide within
                                  2   one hundred eighty (180) days accessible parking, compliant signage
                                  3   regarding accessible parking, an accessible entrance, compliant signage
                                  4   regarding an accessible entrance, an accessible route of travel within the
                                  5   property lines connecting the designated disabled parking space to an
                                  6   accessible entrance, an accessible route of travel connecting the
                                  7   designated disabled parking space to the public sidewalk, an accessible
                                  8   route of travel connecting the public sidewalk to an accessible entrance,
                                  9   [and] compliant directional signage showing the accessible route of travel to
                                 10   the nearest accessible entrance at the property” pursuant to 42 U.S.C. §
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                                 11   12188(a)(2). (Dkt. 16).
                                 12
                                 13       Under the statute, injunctive relief issued for failure to remove an
                                 14   architectural barrier “shall include an order to alter facilities to make such
                                 15   facilities readily accessible to and usable by individuals with disabilities to
                                 16   the extent required by this subchapter.” 42 U.S.C. § 12188(a)(2). “To be
                                 17   entitled to injunctive relief under 42 U.S.C. § 12188(a)(2), [a plaintiff] must
                                 18   show that [the defendant] has violated the [ADA’s requirements].” See
                                 19   Vogel v. Rite Aid Corp., 992 F. Supp. 2d 998, 1015 (C.D. Cal. 2014).
                                 20
                                 21       To establish discrimination under the ADA, a plaintiff must show that the
                                 22   plaintiff is disabled, 42 U.S.C. § 12102(a); that Defendant’s facility is a place
                                 23   of “public accommodation” and, therefore, governed by Title III of the ADA,
                                 24   42 U.S.C. § 12182(a); that Defendant’s facility has unlawful architectural
                                 25   barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv); and that the plaintiff
                                 26   encountered the architectural barrier, precluding full and equal access to the

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                                  1   facility, 42 U.S.C. §12188(a). As discussed above, Plaintiff has shown that
                                  2   here.
                                  3
                                  4       The Court therefore grants Plaintiff’s request for injunctive relief and
                                  5   orders Defendant to provide, within one hundred eighty (180) days,
                                  6   accessible parking, compliant signage regarding accessible parking, an
                                  7   accessible entrance, compliant signage regarding an accessible entrance,
                                  8   an accessible route of travel within the property lines connecting the
                                  9   designated disabled parking space to an accessible entrance, an accessible
                                 10   route of travel connecting the disabled parking space to the public sidewalk,
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                                 11   an accessible route of travel connecting the public sidewalk to an accessible
                                 12   entrance, and compliant directional signage showing the accessible route of
                                 13   travel to the nearest accessible entrance at the Domino’s Pizza restaurant
                                 14   located at 10616 W Pico Boulevard, Los Angeles, California in compliance
                                 15   with the ADA Accessibility Guidelines.
                                 16
                                 17       3. Attorneys’ Fees and Costs
                                 18       Finally, Plaintiff intends to separately file a motion for his attorneys’ fees
                                 19   and costs. Plaintiff’s motion for attorneys’ fees and costs shall be filed by no
                                 20   later than the time period prescribed in Local Rule 54-7. See C.D. Cal. L.R.
                                 21   54-7. Plaintiff’s request must also adhere to the requirements set forth in
                                 22   Federal Rule of Civil Procedure 68, which states that “[i]f the judgment that
                                 23   the offeree finally obtains is not more favorable than the unaccepted offer,
                                 24   the offeree must pay the costs incurred after the offer was made.” Fed. R.
                                 25   Civ. P. 68.
                                 26

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                                  1                              IV.    CONCLUSION
                                  2      The Court GRANTS Plaintiff’s Application for Default Judgment.
                                  3
                                  4      Pursuant to 42 U.S.C. § 12188(a)(2), the Court orders Defendant to
                                  5   provide, within one hundred eighty (180) days, accessible parking,
                                  6   compliant signage regarding accessible parking, an accessible entrance,
                                  7   compliant signage regarding an accessible entrance, an accessible route of
                                  8   travel within the property lines connecting the designated disabled parking
                                  9   space to an accessible entrance, an accessible route of travel connecting
                                 10   the disabled parking space to the public sidewalk, an accessible route of
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                                 11   travel connecting the public sidewalk to an accessible entrance, and
                                 12   compliant directional signage showing the accessible route of travel to the
                                 13   nearest accessible entrance at the Domino’s Pizza restaurant located at
                                 14   10616 W Pico Boulevard, Los Angeles, California in compliance with the
                                 15   ADA Accessibility Guidelines.
                                 16
                                 17      The Court enters a default judgment under separate cover.
                                 18
                                 19   IT IS SO ORDERED.
                                 20
                                 21      Dated:     9/28/21
                                 22                                                      Virginia A. Phillips
                                                                                    United States District Judge
                                 23
                                 24
                                 25
                                 26

                                                                           13
